Case 3:17-cv-00072-NKM-JCH Document 1157 Filed 10/04/21 Page lof5 Pageid#: 19849

IN THE UNITED STATES DISTRICT COURT FOR THéierk's OFFICE US. DIST COUR!

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AT CHARLOTTE
WESTERN DISTRICT OF VIRGINIA oo

Charlottesville Division
Elizabeth Sines, et al

Plaintiffs

 

Vv Case No: 3:17-cv-072-NKM
Jason Kessler, et al

Defendants

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MOTION IN LIMINE TO BAR PLAINTIFFS FROM INTRODUCING EVIDENCE
ABOUT THE SUPPOSED HOLOCAUST® AS IRRELEVANT AND INFLAMMATORY PUR-
SUANT TO FED.R.EVID. 401-403

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Comes now the Defendant, Christopher Cantwell, aed, he Moves this Court
In Limine To Bar Plaintiffs From Introducing Evidence, including the
pseudo-“expert" testimony of Deborah Lipstadt and/or any substitute
About The Supposed Holocaust® As Irrelevant And Inflammatory Pursuant

To Fed.R.Evid. 401-403. In support, he states as follows:

1) On September 22, 2021, Cantwell was the for the first time able to
review the “expert” report of Deborah Lipstadt, an “expert" retained
to pontificate on the subject of “anti-Semitism” and who apparently

wants to link the Defendants to the

Holocaust®, Cantwell has made several previous objections to the
introduction of Lipstadt's testimony, including that animus against
those who identify as "Jews" is not proscribed by US Const Amend

XIII and 42 USC §$1985(3) (see, eg, Shaare Tefila Congregation v

Cobb 606 F Supp 1504 (4th Cir 1985) reversed on other grounds by
Shaare Tefila Congregation v Cobb 481 US 615 (1987)), that Lipstadt's
testimony was not previously disclosed to Cantwell pursuant to Fed.

R.CiviP. 26(a)(2) and is inadmissible pursuant to Fed.R.Civ.P. 37

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Case 3:17-cv-00072-NKM-JCH Document 1157 Filed 10/04/21 Page 2of5 Pageid#: 19850

(a)(4), and, that Lipstadt's proposed testimony goes towards an
aiding and abetting theory at best and is thus both irrelevant
and without foundation vis-a-vis the pled conspiracy theory. Now,

as it appears that this testimony has no purpose except to inject

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the "Holocaust" into the proceedings
and to thereby confuse and mislead the jury, Cantwell moves that
it and any similar evidence be excluded on this ground as irrele-

vant and inflammatory.

2) "Under [Federal] Rule [of Evidence] 702, a district court must en-
sure that the expert is qualified and that the expert's testimony
is both relevant and reliable." United States v Smith 919 F 3d 825
(4th Cir 2019) citing Daubert v Merrell Dow Pharms Inc 509 US 579
(1993). The Fourth Circuit “has explained that whether testimony
"assist[s] the trier of fact' is the ‘touchstone’ of Rule 702."
United States v Campbell 963 F 3d 309 (4th Cir 2020). "CElven if
an expert witness opinion is fnadmissible under Rule 702, Rule 403
permits the district court to exclude relevant opinion testimony
if its probative value is substantially outweighed by a danger of
+. unfair prejudice." Campbell. Further, expert testimohy~. must
be “not only relevant, but, reliable." Daubert; United States v
Mallory 989 F 3d 730 (4th Cir 2020). "To be reliable, the testi-
mony must be based on scientific, technical, or other specialized
knowledge and not on belief or speculation and inferences must be
derived using scientific or other valid methods." Belville v Ford
Motor Co 919 F 3d 224 (4th Cir 2019) citing Ggtesby v Gen Motors
Corp 190 F 3d 244 (4th Cir 1999). Experts may not testify on mat~
ters “obviously ... within the common knowledge of jurors." Unit-
ed States v- Fuertas’ 805 F.3d 485-(4th Cir 2015). These standards.

apply to “all expert testimony." Kumho Tire Co v Carmichael 526 US

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Case 3:17-cv-00072-NKM-JCH Document 1157 Filed 10/04/21 Page 3o0f5 Pageid#: 19851

3)

4)

137 (1999).

Fed.R. Evid. 403 bars the admission of unfairly prejudicial testimony
even if that testimony is also relevant. “Unfair prejudice is the
possibility that evidence wilt excite the jury to make a decision

on the basis of a factor unrelated to the issue properly before it."
Mullen v Princess Anne Volunteer Fire Co.853 F 2d 1130 (4th Cir
1988); see also Morgan v Furetich 846 F 2d 941 (4th Cir 1988)
tunfair prejudice is that "genuine risk that the ... jury will be
excited to irrational behavior ..."). The proposed evidence here

is also very much like conduct evidence, except that, instead of
having their own conduct introduced, the Defendants are to have
introduced against them the alleged conduct of men who died in

most cases decades before they were born. “Conduct evidence is
inadmissible when “it inflames the jury or encourages them to draw
an inference against the defendant based solely on a judgment about
the defendants' criminal character or wicked disposition.” United

Sterling 869 F 3d 233 (4th Cir 2017).

First, the Holocaust® is just not relevant to this case, and, a
comparison to the proposed testimony of Peter Simi and Kathleen

Blee shows why. Simi and Blee claim to be experts on something they
call the "White Supremacist Movement". They claim that the Defend-
ants are members of this movement, and, thus, their knowledge of
this movement can be used to contextualize and "de-code" specific
comments attributed to the Defendants on Discord to show a conspir-
acy. Cantwell has objections to this testimony and particularly

its scope, but, this kind of expert testimony is at least admiss-
ible: ft addresses real facts relating to this case and probative

of whether or not there was a conspiracy. hat role, however, does
the supposed Holocaust® play in this case? The Defendants here

-3~
Case 3:17-cv-00072-NKM-JCH Document 1157 Filed 10/04/21 Page 4of5 Pageid#: 19852

5)

are notiaccused of playing any role in the Second World War or in
the German government prior to 1946: They are not accused of
knowing anyone involved=in the German government prior to 1945.
The Discord channels used by some of the Defendants may have in-
cluded references to the Holocaust®, but, Lipstadt is not appear~
ing to try to contextualize these memes for the jury, who should
already understand them from common knowledge. Lipstadt's purpose
here is to tell the jury that refusing to enter a verdict in the
Plaintiff's favor is the moral equivalent of genocide against the
“Jewish people", which it is not, and, which is a completely in--

appropriate argument for Plaintiffs to be making.

Lipstadt's testimony is nothing but an irrelevant effort to confuse
the jury and mislead them into entering a verdict that has nothing
to do with whether or not the Defendants conspired to engage in
assault. The Defendants here were not only not proponents of geno-
cide, the entire purpose of their peaceful political protest was —
to oppose the physical and cultural genocide that

extremists such as Lipstadt have been carrying out against America's
white working class population. Somewhere, persons like Lipstadt

have gotten the idea that the Holocaust® is an unlimit-

ed license for them to commit crimes against the world's peoples,

whether the people of Palestine

,or, American and European whites, whose lands are being stolen
from them as we speak. This Court should not allow the idea that
the Holocaust® is an excuse for the violence that the Plaintiffs
visited upon the Defendants to be presented in this courtroom.
It is irrelevant, it is a distraction, and, it detracts from the -

dignity of these proceedings.
Case 3:17-cv-00072-NKM-JCH Document 1157 Filed 10/04/21 Page5of5 Pageid#: 19853

Respectfully Submitted,:.

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Christopher Cantwell
USP-Marion

PO Box 1000

Marion, IL 62959

CERTIFICATE OF SERVICE

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I hereby certify that this Motion in Limine was mailed to the Clerk

of the Court, 1st Class Postage prepaid, for posting on the ECF to
which all parties are subscribed, and, handed to USP-Marion staff memb-
ers Nathan Simpkins and/or Kathy Hill for electronic transmission to

the Court, this 30th day of September, 2021.

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_ Uhristopher Cantwell

 
